
USCA1 Opinion

	




        August 11, 1992         [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ____________________        No. 91-2335                           ORESTE MORCELO-MARTINEZ, ET AL.,                               Plaintiffs, Appellants,                                          v.                               WELFARE FUND ILA-PRSSA,                                 Defendant, Appellee.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF PUERTO RICO                    [Hon. Jaime Pieras, Jr., U.S. District Judge]                                             ___________________                                 ____________________                                        Before                                 Breyer, Chief Judge,                                         ___________                        O'Scannlain,* and Cyr, Circuit Judges.                                               ______________                                 ____________________            John Ward-Llambias for appellants.            __________________            Roberto E.  Vega-Pacheco with whom Trias,  Acevedo &amp;  Otero was on            ________________________           ________________________        brief for appellee.                                 ____________________                                 ____________________        _____________________        *Of the Ninth Circuit, sitting by designation.                    Per Curiam.  The Morcelos brought this action against                     __________          Mr. Morcelo's employer-provided health care insurer for           reimbursement of medical expenses pursuant to the Employee           Retirement Income Security Act ("ERISA"), 29 U.S.C.   1132.  The           trial court dismissed the complaint for failure to state a claim           upon which relief could be granted.  Fed. R. Civ. P. 12(b)(6).  We           now affirm.                    Mr. Morcelo was advised by his doctor to seek heart           surgery in Texas.  The defendant allegedly denied coverage for           such treatment and the surgery was eventually performed in Puerto           Rico and paid for by the Medicaid program of the Puerto Rico           Department of Health.  The Morcelos assigned "any right to           remuneration, payment or aid for medical expenses which I or which           any other person may have" to the Medicaid Program.  The district           court concluded that the Morcelos lacked standing to bring this           action since they were not the real parties in interest after           having assigned all their rights to reimbursement of medical           expenses to the Medicaid Program.                                            I.                    Mr. Morcelo argues that he is entitled to recover the           difference between what the Medicaid Program paid for his less           expensive operation in Puerto Rico and what an operation in Texas           would have cost.  He analogizes his attempted recovery to the           collateral source rule under which a tortfeasor cannot lessen his           liability because the injured party receives assistance from a           separate source.  Without reaching the merits of the claim,                                         2          however, we must agree with the district court that the Morcelos'           ERISA claim is barred for lack of standing.                    We are persuaded by its express language that the           assignment effectively assigned any and all rights regarding                                           __________________          medical services for this procedure to Medicaid, not just the           right to payment for the particular services he received.  Hence,           the Morcelos are not the real parties in interest in this action           and could not state a claim against the Welfare Fund.  Fed. R.           Civ. P. 17(a); Maddalone v. Okada Shosen, KK, 756 F.2d 886, 887                          _____________________________          (1st Cir. 1985) (once injured worker settles with workers           compensation insurer, the insurer is the real party in interest).            Consequently, the district court properly dismissed the action            against the Welfare Fund.                                          II.                    The trial court also properly dismissed Mrs. Morcelo's            pendent state claims for various tort remedies.  Once the court           dismissed the federal ERISA claim, it had the discretion also to           dismiss the pendent state claims.  28 U.S.C.   1367(c)(3); United                                                                      ______          Mine Workers v. Gibbs, 383 U.S. 715, 726 (1966).          _____________________                    Affirmed.                    Affirmed.                    ________                                                    3

